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                 EXHIBIT 63
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                                                                                     2   UNITED STATES BANKRUPTCY COURT
                                                                                     3   SOUTHERN DISTRICT OF NEW YORK
                                                                                     4   - - - - - - - - - - - - - - - - - - - - -x
                                                                                     5   In the Matter of:
                                                                                     6   ORLY GENGER,                             Lead Case No.
                                                                                     7             Debtor.                        19-13895-jlg
                                                                                     8   - - - - - - - - - - - - - - - - - - - - -x
                                                                                     9   GENGER,
                                                                                    10             Plaintiff,                     Adv. Proc. No.
                                                                                    11   v.                                       20-01010-jlg

                                                                                    12    GENGER, et al.,
                                                                                    13             Defendants.
                                                                                    14   - - - - - - - - - - - - - - - - - - - - -x
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                                                                                    16                  United States Bankruptcy Court
                                                                                    17                  One Bowling Green

                                                                                    18                  New York, New York
                                                                                    19
                                                                                    20                  March 19, 2021
                                                                                    21                  2:03 PM
                                                                                    22
                                                                                    23   B E F O R E:
                                                                                    24   HON. JAMES L. GARRITY, JR.
                                                                                    25   U.S. BANKRUPTCY JUDGE


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                                                                                     2   1) Motion to Dismiss Adversary Proceeding (Doc #12)
                                                                                     3
                                                                                     4   1) Cross Motion for Summary Judgment (Doc #38)
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                                                                                     6   1) Motion to Dismiss Adversary Proceeding (Doc #16)
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                                                                                    20   Transcribed by:   Michael Drake
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                                                                                     1   lawyer or he's the trustee and he's put into the court that
                                                                                     2   he's not going to do a thing with those notes until it's been
                                                                                     3   fully adjudicated, I don't think there's anything to have Mr.
                                                                                     4   Bowen in for.    The reason that we mentioned him was, again,
                                                                                     5   because he was a necessary party as the holder of the notes.
                                                                                     6              But in addition to that, his name came up because we
                                                                                     7   were trying to show the Court, and we think we did it in
                                                                                     8   documentary evidence, all of the misstatements and untruths
                                                                                     9   that were going on with respect to the 2013 agreement and where
                                                                                    10   the money went and so on and so forth.        And therefore it was --
                                                                                    11   with respect to the statute of limitations an equitable

                                                                                    12   tolling.    That's why he came up today.      But you're correct.
                                                                                    13              THE COURT:   Okay.
                                                                                    14              MR. LABOV:   Yeah.
                                                                                    15              THE COURT:   Okay.
                                                                                    16              MR. LABOV:   I'm sorry.
                                                                                    17              THE COURT:   So what I'm going to do, in light of the

                                                                                    18   representations Mr. Bowen has made on the record today, I'm
                                                                                    19   going to dismiss him subject to, of course, the fact that there
                                                                                    20   is no question that there will be no actions taken by Mr. Bowen
                                                                                    21   as it relates to the Trump notes until these matters are
                                                                                    22   adjudicated, finally adjudicated in this litigation.        Does
                                                                                    23   anyone have any --
                                                                                    24              So, Mr. Bowen, first off, is that agreeable to you?
                                                                                    25              MR. BOWEN:   Yes, Your Honor.      And -- understood.   This


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                                                                                     2                        C E R T I F I C A T I O N
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                                                                                     4   I, Michael Drake, certify that the foregoing transcript is a
                                                                                     5   true and accurate record of the proceedings.
                                                                                     6
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                                                                                     9   ________________________________________
                                                                                    10   Michael Drake (CER-513, CET-513)
                                                                                    11   AAERT Certified Electronic Transcriber

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                                                                                    15   New York, NY 10001
                                                                                    16
                                                                                    17   Date:   March 29, 2021

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